                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            Civil Action No: 3:20CV00259


 THE CHARLOTTE MECKLENBURG
 BOARD OF EDUCATION,

        Plaintiff,
                                                             NOTICE OF APPEARANCE
        v.                                                    OF GABRIEL WRIGHT

 34 ED, LLC d/b/a CENTEGIX,

        Defendant.



       Gabriel Wright, of the law firm Robinson, Bradshaw & Hinson, P.A., hereby provides

notice to the Court and all parties and counsel that he will appear as counsel in the above-captioned

action, in addition to Robert E. Harrington and Cary B. Davis, on behalf of 34ED, LLC d/b/a

CENTEGIX in the above-referenced action. Please direct all future filings, correspondence,

notices and other contacts regarding this case to Mr. Harrington, Mr. Davis and Mr. Wright through

the CM/ECF electronic filing system or at the address listed below.

       This 26th day of May, 2020.




                                              s/ Gabriel Wright
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2020, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the following:


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               Attorneys for Plaintiff


       This 26th day of May, 2020



                                                 s/ Gabriel Wright
                                                 Gabriel Wright




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